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 7
                             UNITED STATES DISTRICT COURT
 8                          EASTERN DISTRICT OF WASHINGTON
 9
      UNITED STATES OF AMERICA,               )
10                                            )     No. CR-07-112-RHW-2
                          Plaintiff,          )
11                                            )     ORDER GRANTING IN PART THE
      v.                                      )     DEFENDANT’S MOTION TO
12                                            )     RECONSIDER AND MODIFYING
      ALLEN LINT,                             )     CONDITIONS OF RELEASE
13                                            )
                          Defendant.          )
14                                            )

15         At the August 22, 2007, hearing on Defendant’s Motion to

16   Reconsider, Assistant U.S. Attorney Russell Smoot appeared for the

17   United     States.     Defendant   was    present       with   Assistant   Federal

18   Defender Robert Fischer.          Both sides argued.           The United States

19   withdrew its request for a Nebbia hearing.

20         The Defendant asks to be allowed to reside at the American

21   Society of Medical Missionaries (in the residence of Arlene Steiner)

22   in Priest River, Idaho. Ms. Steiner will transport Defendant to and

23   from his court hearings and appointments.

24         The Defendant’s Motion (Ct. Rec. 43) is GRANTED in part as

25   follows:

26         1.     Defendant shall post a $10,000 corporate surety bond, in

27   lieu of the previously ordered $15,000 corporate surety bond.

28         2.     Following approval in writing by Pretrial Services of the

     ORDER GRANTING IN PART THE DEFENDANT’S MOTION
     TO RECONSIDER AND MODIFYING CONDITIONS OF RELEASE                - 1
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 1   Defendant’s proposed residence (Arlene Steiner, American Society of
 2   Medical Missionaries), Defendant may be released.
 3        3.    Defendant may travel between Priest River, Idaho, and the
 4   Eastern District of Washington.
 5        All other conditions in this court’s Order of release filed
 6   July 31, 2007, shall remain.
 7        IT IS SO ORDERED.
 8        DATED August 23, 2007.
 9
10                            S/ CYNTHIA IMBROGNO
                         UNITED STATES MAGISTRATE JUDGE
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     ORDER GRANTING IN PART THE DEFENDANT’S MOTION
     TO RECONSIDER AND MODIFYING CONDITIONS OF RELEASE               - 2
